      Case 4:06-cr-00039-BMM     Document 451    Filed 02/21/25    Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,
                                                CR-06-39-GF-BMM
                Plaintiff,
      vs.
                                            ORDER ADOPTING FINDINGS AND
                                                RECOMMENDATIONS

 SHAUN DELMORE MORTENSON,

                Defendant.

      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on February 6, 2025. (Doc. 450.)

      When a party makes no objections, the Court need not review de novo the

proposed Findings and Recommendations. Bad Old Man v. Arn, 474 U.S. 140, 153-

52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

       Judge Johnston conducted a revocation hearing on September 24, 2024

 and on February 4, 2025. (Docs. 435 and 449.) The United States accused Shaun
     Case 4:06-cr-00039-BMM     Document 451      Filed 02/21/25   Page 2 of 3



Mortenson (Mortenson) of violating the conditions of his supervised release by

failing to successfully complete an outpatient sex offender treatment program by

being terminated from sex offender treatment on September 16, 2024. (Doc. 432.)


       At the revocation hearing, Mortenson admitted he had violated the

conditions of his supervised release by failing to successfully complete an

outpatient sex offender treatment program by being terminated from sex offender

treatment on September 16, 2024. (Doc. 435.)

       Judge Johnston found that the violation Mortenson admitted proves serious

and warrants revocation of Mortenson’s supervised release and recommends a

term of custody for a term of 8 months on both Count I and Count II, terms to run

concurrently, and with a lifetime of supervised release to follow on both counts .

(Doc. 450.) The Court advised Mortenson his right to appeal and to allocute

before the undersigned. (Doc. 449.)

       The violation proves serious and warrants revocation of Mortenson’s

supervised release. The Court finds no clear error in Judge Johnston’s Findings

and Recommendations.

       Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 450) are ADOPTED IN FULL. IT IS FURTHER

ORDERED that Shaun Delmore Mortenson be sentenced to a term of custody of
    Case 4:06-cr-00039-BMM      Document 451      Filed 02/21/25   Page 3 of 3



8 months on both Count I and Count II, terms to run concurrently, with a lifetime

of supervised release to follow on both counts.


      DATED this 21st day of February 2025.
